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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                          Case No. 93-401-CR-GRAHAM

   UNITED STATES OF AMERICA,

        Plaintiff,

   v.

   ATILANO DOMINGUEZ,

        Defendant.
                                  /

                                        ORDER

        THIS   CAUSE    came   before    the    Court   on   Defendant   Atilano

   Dominguez’s Motion for Compassionate Release (D.E. 300).

        THE COURT has considered the Motion, the pertinent portions of

   the record, and is otherwise fully advised in the premises. Based on

   the following, the defendant’s motion is granted.


   I.   BACKGROUND

        On December 10, 1993, Atilano Dominguez was found guilty by jury

   of Counts One and Two of a two-count Indictment. Count One charged

   him with conspiracy to possess with intent to distribute marijuana,

   in violation of 21 U.S.C. §§ 846 and 841(a)(1). Count Two charged him

   with possession with intent to distribute marijuana, in violation of

   21 U.S.C. § 841(a)(1). The government filed notice, pursuant to 21

   U.S.C. § 851, on November 9, 1993. On February 28, 1994, Dominguez

   was sentenced, under the then-mandatory sentencing guidelines, to

   life imprisonment as to Counts One and Two, followed by ten years

   supervised release and a $100 special assessment. Both counts were
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   ordered to run concurrently with each other. After the pronouncement

   of sentence, the Court noted that, although the sentence was probably

   “too severe” and having found no grounds for departure, it didn’t

   “have much choice” but to impose the term of life.

          On September 1, 2020, Dominguez, through counsel, filed an 18

   U.S.C. § 3582(c)(1)(A) motion for compassionate release. (D.E. 300).

   In his motion, Dominguez asserts that his severe medical conditions

   combined with the current climate of the COVID-19 threat faced by the

   prison population qualify as extraordinary and compelling reasons for

   compassionate release. Specifically, Dominguez cites his medical

   history of diabetes mellitus, type II, hypertension, congestive heart

   failure,     coronary   atherosclerosis,    hyperlipidemia,       GERD,   anemia,

   eosinophilia, and enthesopathy and osteoarthritis in both knees.

          The   government   concedes   that    Dominguez’s    age    and    medical

   condition render him vulnerable to serious consequences if he were

   to contract COVID-19. (D.E. 305). However, the government contends

   that Dominguez’s “sentence of life imprisonment always contemplated

   that   the   Defendant    could   perish    in   prison.”   Id.   Further,   the

   “existence of one more way to perish in prison, specifically COVID-

   19,” in addition to other serious medical conditions, “does not alter

   the appropriateness of the Defendant’s incarceration.” Id. In other

   words, the government argues that because Dominguez is serving a

   sentence of life imprisonment, it is expected that he die in prison,

   whether by natural causes or otherwise, and thus his risk of illness

   or death from COVID-19 is not an “extraordinary and compelling reason”


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   to release the Defendant. Id. Additionally, the government submits

   that the factors under Section 3553 counsel against the Defendant’s

   release. Id.

         Finally, the Court also considers that Dominguez’s life sentence

   for a non-violent drug offense was imposed under mandatory and binding

   Sentencing   Guidelines,     now       deemed    unconstitutional       under   United

   States v. Booker, 543 U.S. 220, 125 S. Ct. 738, 748, 160 L.Ed.2d 621

   (2005).

   II.   LEGAL STANDARD

         Under 18 U.S.C. § 3582 (c)(1)(A)(i), the court may modify a term

   of imprisonment if it finds extraordinary and compelling reasons that

   warrant a reduction, upon motion of the defendant after the defendant

   has fully exhausted all administrative remedies. 18 U.S.C. § 3582

   (c)(1)(A)(i);    First   Step     Act    of     2018.   The    defendant   must   have

   exhausted all administrative rights to appeal a failure of the Bureau

   of Prisons (“BOP”) to bring a motion on the defendant’s behalf or

   made the motion after a lapse of 30 days of the receipt of such a

   request by the warden of the defendant’s facility, whichever is

   earlier.   Id.   Moreover,       the    reduction       must   be    consistent   with

   applicable policy statements from the Sentencing Commission and the

   factors set forth in 18 U.S.C. § 3553(a). Id.

         Application   Note     1    of     Section    1B1.13      of   the   Sentencing

   Guidelines provides that the defendant may establish extraordinary

   and compelling reasons if the defendant is suffering from a serious

   physical or medical condition. U.S.S.G. 1B1.13. Or, if the defendant


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   is at least 65 years old, is experiencing a serious deterioration in

   physical or mental health and has served at least 10 years or 75

   percent of the term of imprisonment, whichever is less. Id. Further,

   in evaluating the motion for compassionate release, the Sentencing

   Commission directs courts to consider whether releasing the Defendant

   will pose a threat to the safety of the community. U.S.S.G. 1B1.13.



   III. DISCUSSION

        A. Exhaustion of Administrative Remedies

        Under 18 U.S.C. § 3582 (c)(1)(A)(i), the statute expressly

   requires the defendant to fully exhaust all administrative rights

   before the court may modify a term of imprisonment. Dominguez applied

   for compassionate release to the Acting Warden S. Spaulding of the

   United States Penitentiary Lewisburg (USP Lewisburg) on August 13,

   2020. According to the August 17, 2020 denial letter, Acting Warden

   S. Spaulding determined that the concern for Dominguez potential

   exposure to, or possibly contracting COVID-19, does not warrant an

   early release from his sentence.

        The Court finds that Dominguez, having received the warden’s

   August 17, 2020 denial letter, has met the administrative exhaustion

   requirement. His motion is therefore properly before this Court and

   ripe for consideration.

        B. Extraordinary and Compelling Reasons for Release

        While section 3582(c)(1)(A) allows a sentence reduction based

   on “extraordinary and compelling reasons,” the reduction must be


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   “consistent    with    applicable       policy     statements    issued    by   the

   Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). Section 1B1.13

   provides that a court may reduce a term of imprisonment if “(1)(A)

   extraordinary and compelling reasons warrant the reduction;” “(2) the

   defendant is not a danger to the safety of any other person or to the

   community;” and “(3) the reduction is consistent with this policy

   statement.” The policy statement further explains in its commentary

   that   extraordinary       and   compelling   reasons   include    the    following

   circumstances: “(A) Medical Condition of the Defendant;” “(B) Age of

   the Defendant; “(C) Family Circumstances;” and “(D) Other Reasons.”

   Id. § 1B1.13 cmt. n.1.

          Relevant here, Application Note 1(B) “Age of the Defendant”

   includes that extraordinary and compelling reasons may exist where

   the defendant “(i) is at least 65 years old; (ii) is experiencing a

   serious deterioration in physical or mental health because of the

   aging process; and (iii) has served at least 10 years or 75 percent

   of his or her term of imprisonment, whichever is less.” Id. § 1B1.13

   cmt. n.1(B). Dominguez satisfies these criteria. He is 80 years old

   and has served over 27 years in prison. Additionally, Dominguez has

   a   long   history    of     chronic    medical    conditions,     rendering    him

   particularly   vulnerable        to    COVID-19.   (D.E.   300).    Specifically,

   Dominguez suffers from numerous significant co-morbidities, including

   diabetes mellitus, type II, hypertension, congestive heart failure,

   coronary atherosclerosis, hyperlipidemia, GERD, anemia, eosinophilia,

   and enthesopathy and osteoarthritis of both knees. The defendant has


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   undergone quadruple bypass surgery, a proctectomy (a surgery to remove

   all or part of the rectum), cataracts surgery and a hernia operation

   while in custody. His knee issues prevent him from standing or walking

   for any significant duration. As such, he relies on other inmates to

   wheel him to places where he needs to go, making it difficult for him

   to maintain proper social distance.

        Although the government acknowledges that the defendant suffers

   from a variety of ailments, and that these maladies and his age place

   him within the high risk categories identified by the CDC, it asserts

   that BOP is well equipped to deal with the spread of COVID-19 amongst

   its inmates in general and for Dominguez in particular. (D.E. 305).

   Moreover, the government opposes his release on the grounds that his

   life sentence contemplated that he would die in prison. However,

   there is no authority that persons sentenced to life imprisonment are

   somehow precluded from being granted compassionate release or are

   subject to a higher standard of proof.

        Without addressing BOP’s effectiveness in dealing with the

   COVID-19 pandemic, the Court recognizes that there are circumstances

   inherent in a penal setting that make the spread of COVID-19 far more

   prevalent than in the community as a whole. 1 This risk is even more

   serious for Dominguez who relies on the kindness of inmates to assist

   him in moving throughout the facility. The government’s response




   1
    See Declaration of Dr. Chris Beyrer, M.D., M.P.H. available at
   http://www.wisconsinappeals.net/wp-content/uploads/2020/03/Beyrer-
   Declaration-C3.pdf.


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   simply     ignores    the     fact    that        the    current     COVID-19     pandemic

   dramatically alters the backdrop for courts considering compassionate

   relief    requests.     United       States       v.    Suarez,18-CR-20175,       2020    WL

   4343994, at *1 (S.D. Fla. April 24,2020). Prior to the COVID-19

   pandemic, Dominguez’s circumstances may not have been serious enough

   to warrant compassionate relief. Id. However, his age and present

   medical conditions place him squarely in the class of individuals who

   face the possibility of serious illness or death from contracting the

   virus.

           After considering Dominguez’s advanced age, poor health, and

   that all of his medical conditions and comorbidities will further

   complicate his prognosis if he becomes infected with COVID-19, this

   Court    finds   that   the    defendant          has   presented    extraordinary       and

   compelling reasons for compassionate release under U.S.S.G. § 1B1.13.

   See United States v. Perez, 2020 WL 1546422 (S.D.N.Y. Apr. 1, 2020)

   (defendant’s      recent      surgeries,           persistent       pain,   and       visual

   complications satisfy the compelling reasons requirement); United

   States    v.   Rivernider,     2020    WL     2393959      (D.   Conn.   May    12,   2020)

   (granting compassionate release to the 54 years old defendant with

   diabetes, heart disease, and hypertension who served 65% of his 144-

   month wire fraud sentence).

           C. Danger to Community

           Once extraordinary and compelling reasons are shown, section

   1B1.13 provides that a sentence should be reduced only if releasing

   the inmate will not pose a danger to the safety of others or the


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   community. § 1B1.13(2) (citing 18 U.S.C. § 3142(g)). Factors to be

   considered include: (1) the nature and circumstances of the offenses

   of conviction; (2) the weight of the evidence; (3) Dominguez’s history

   and characteristics; and (4) the nature and seriousness of the danger

   posed by his release. 18 U.S.C. § 3142(g).

         After evaluating these factors, in light of the record, this

   Court finds that Dominguez does not present a danger to the safety

   of any other person or to the community. As to the first and second

   factors, there is no question that his offense was serious. For his

   crimes, he deserved and received a lengthy sentence. However, he was

   sentenced at a time when the sentencing guidelines were mandatory,

   and if sentenced today he would not face a mandatory life sentence.

   See United States v. Pubien, 805 F. App’x 727, 730 (11th Cir. 2020).

         As    to   the    third    and   fourth      factors,    Dominguez’s      medical

   conditions and age make him statistically less likely to reoffend.

   According to the Sentencing Commission, “age is generally a strong

   factor influencing the likelihood of committing a crime,” with “older

   offenders...substantially          less       likely   than   younger    offenders     to

   recidivate following release.”            2   Finally, his numerous health issues

   weigh in favor of his reduced risk to reoffend.

         The government, without any support, asserts that Dominguez,

   despite his advanced age and ailments, might pose a danger for


   2
    U.S. Sentencing Comm’n, The Effects of Aging on Recidivism Among Federal Offenders, 11,
   30 (Dec. 2017), https://www.ussc.gov/research/research-reports/effects-aging-recidivism-
   among-federal-offenders.


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   recidivism.    (D.E.     305,    p.    15).         The   government    also    notes    that

   Dominguez’s    perceived        lack   of       remorse     is   inconsistent      with   an

   individual who might arguably be a low risk for recidivism or not a

   danger to the community. (D.E. 305, p. 14).                        The Court finds the

   government’s assertions unpersuasive.

           Although Dominguez is deemed a career offender because he has

   two prior felony drug convictions before this instant case, and has

   filed     numerous     motions    for       a       reduction    of    sentence     without

   specifically mentioning any remorse, he has served almost 27 years

   of his prison sentence and has no discipline infractions while

   incarcerated.        Accordingly,       upon         considering       Dominguez’s       age,

   deteriorating health, and the substantial amount of time he has

   already served, this Court finds that the risk of him engaging in

   criminal behavior is minimal. Moreover, as discussed below, he will

   be placed on 10 years of supervised release, which will result in

   substantial oversight by the United States Probation Office.

           D. Section § 3553(a) Factors

           Title 18 U.S.C. § 3582(c)(1)(A) further requires a court, upon

   finding that extraordinary and compelling reasons exist, to consider

   the factors set forth in 18 U.S.C. § 3553(a), to the extent they are

   applicable. Those factors aid the court to impose a sentence that is

   “sufficient,     but    not     greater         than      necessary...to       reflect    the

   seriousness of the offense and to promote respect for the law, the

   need for adequate deterrence, the need to protect the public, and the

   need to provide the defendant with educational or vocational training,


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   medical care, or other correctional treatment.” United States v.

   Powers, 790 F. App’x 176, 182 (11th Cir. 2019) (citing 18 U.S.C. §

   3553(a)). In addition to these factors, “[t]he court must also

   consider the nature and circumstances of the offense and the history

   and characteristics of the defendant....” United States v. Gonzalez-

   Villanueva, 810 F. App’x 809 (11th Cir. 2020) (citations omitted).

         Reducing Dominguez’s sentence furthers the goals of section

   3553. As noted above, this Court recognizes the seriousness of his

   drug trafficking offense and his history and characteristics at the

   time he was sentenced. As a result of his criminal activity, he has

   been incarcerated for over 27 years in this case. That alone is a

   significant sanction. Additionally, once released, he will be on

   supervised release for 10 years.

         As to Dominguez ’s current history and characteristics, his

   advanced age and deteriorating health weigh in favor of compassionate

   release. Releasing him will also serve the interest of allowing him

   to seek and receive medical care for his numerous medical conditions,

   particularly in light of the COVID-19 pandemic. Accordingly, this

   Court finds that the 27-plus years he has served, in addition to the

   10 years of supervised release he will serve, are sufficient, but not

   greater than necessary, to satisfy the purposes set forth in section

   3553(a).

   IV.   CONCLUSION

         After considering the extraordinary and compelling reasons under

   18 U.S.C. § 3582(c)(1)(A) and U.S.S.G. § 1B1.13, the sentencing


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   factors in 18 U.S.C. § 3553(a), and after consideration of the

   applicable Sentencing Commission policies, this Court finds that

   Dominguez is entitled to compassionate release. This Court further

   finds that upon his release, he will not pose a danger to any person

   or the community. Accordingly, it is hereby

         ORDERED AND ADJUDGED that Defendant’s Motion for Compassionate

   Release (D.E. 300) is GRANTED. It is further

         ORDERED AND ADJUDGED that his sentence is reduced to TIME SERVED,

   effective immediately, followed by 10 years of supervised release,

   including, as additional special conditions of supervised release, a

   90-day period of home confinement with electronic monitoring to

   provide a structured and stable release environment. All other terms

   and conditions of supervision that were originally imposed remain

   unchanged.

         The defendant is directed to report to the USPO for supervision

   by telephone and await further instructions. The defendant should

   self-quarantine for a period of 14 days to ensure the safety of the

   community, as well as court and probation staff.

         DONE AND ORDERED in Chambers at Miami, Florida, this 22nd day

   of September, 2020.


                                             s/ Donald L. Graham
                                             DONALD L. GRAHAM
                                             UNITED STATES DISTRICT JUDGE

   cc:          All Counsel of Record




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